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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA
__________________________________________

AMERICAN CIVIL LIBERTIES UNION
 FOUNDATION,
FEMHEALTH USA, INC., d/b/a CARAFEM,
MILO WORLDWIDE LLC,
PEOPLE FOR THE ETHICAL TREATMENT                               No. 1:17-cv-_____
 OF ANIMALS, INC.,

                       Plaintiffs,
       v.
WASHINGTON METROPOLITAN AREA
 TRANSIT AUTHORITY,
PAUL J. WIEDEFELD,
                  Defendants.
__________________________________________


                      MOTION FOR A PRELIMINARY INJUNCTION
                       BY PLAINTIFF MILO WORLDWIDE LLC

       Pursuant to Fed. R. Civ. P. 65, Plaintiff MILO Worldwide LLC hereby moves for the

entry of a preliminary injunction directing the Defendants to re-post, for the remaining 18 days

of a 28-day advertising campaign, a set of advertisements for the book Dangerous by Milo

Yiannopoulos that the Defendants approved, received full payment for, posted in Metro stations

and on Metrorail trains, and then precipitously removed after receiving complaints from

members of the public.

       As more fully set forth in Plaintiffs’ Memorandum in Support, Plaintiff MILO

Worldwide LLC is likely to succeed on the merits of its claims and will suffer irreparable harm

in the absence of preliminary relief. The balance of equities tilts strongly in its favor, and an

injunction protecting its constitutional rights is accord with the public interest.
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      Wherefore a preliminary injunction should issue.

      August 8, 2017                      Respectfully submitted,

                                          /s/ Arthur B. Spitzer
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